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                                                        - 489 -
                             Nebraska Court of Appeals Advance Sheets
                                  33 Nebraska Appellate Reports
                            STATE ON BEHALF OF JAIDE Y. &amp; DEMEE Y. V. HOPE N.
                                         Cite as 33 Neb. App. 489



                           State of Nebraska on behalf of Jaide Y. and
                              Demee Y., minor children, appellees, v.
                           Hope N., appellant, and Sierra Y., appellee.
                                                    ___ N.W.3d ___

                                        Filed February 25, 2025.   No. A-24-418.

                 1. Paternity: Appeal and Error. In a filiation proceeding, the appellate
                    court reviews the trial court’s judgment de novo on the record to deter-
                    mine whether there has been an abuse of discretion by the trial judge,
                    whose judgment will be upheld in the absence of an abuse of discretion.
                 2. Judgments: Appeal and Error. When reviewing a question of law,
                    an appellate court reaches a conclusion independent of the lower
                    court’s ruling.
                 3. Constitutional Law: Due Process: Right to Counsel: Paternity. Due
                    process requires that an indigent defendant in a paternity proceeding be
                    furnished appointed counsel at public expense.
                 4. Appeal and Error. An appellate court is not obligated to engage in an
                    analysis that is not necessary to adjudicate the case and controversy
                    before it.

                  Appeal from the District Court for Lincoln County: Michael
               E. Piccolo, Judge. Reversed in part and in part vacated, and
               cause remanded for further proceedings.

                    Hope N., pro se.

                 Stephen B. King, Deputy Lincoln County Attorney, for
               appellee State of Nebraska.

                 Riedmann, Chief Judge, and Bishop and Arterburn,
               Judges.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
       STATE ON BEHALF OF JAIDE Y. &amp; DEMEE Y. V. HOPE N.
                    Cite as 33 Neb. App. 489
        Riedmann, Chief Judge.
                       INTRODUCTION
   Hope N. appeals from the order of the district court for
Lincoln County adopting the district court referee’s report
establishing paternity and child support for Demee Y. and
modifying child support for Jaide Y. Because we find that
the district court erred in denying Hope’s request for court-
appointed counsel without first determining whether he was
indigent, we reverse the order of the district court that denied
Hope’s motion for court-appointed counsel, vacate the subse-
quent order that adopted the referee’s report, and remand the
cause for further proceedings.
                       BACKGROUND
   Hope and Sierra Y. are Jaide’s father and mother, respec-
tively, and in March 2017, Hope was ordered to pay child
support in the amount of $243 per month. In December 2023,
the State filed a complaint to modify child support and add an
additional child. The complaint alleged that in 2022, Demee
was born to Sierra and Hope had signed an acknowledgment
of paternity. In January 2024, Hope responded to the State’s
complaint and alleged that the acknowledgment of paternity
was fraudulent. He requested DNA testing “at the cost of the
State of Nebraska.” He further asserted that a material change
in circumstance had occurred “since the most recent support
order was entered” in that he was presently incarcerated and
was unable to pay the minimum child support order amount of
$50 per month.
   Hope failed to appear at a hearing before the district court
referee on April 2, 2024. At the hearing, the referee accepted
into evidence the acknowledgment of paternity, as well as
a document from the Nebraska Department of Correctional
Services showing that in February 2023, Hope began serving
a sentence of 35 to 40 years’ imprisonment. The referee found
that Hope was Demee’s father and modified Hope’s child sup-
port to $50 per month for two children and $50 per month for
one child.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
       STATE ON BEHALF OF JAIDE Y. &amp; DEMEE Y. V. HOPE N.
                    Cite as 33 Neb. App. 489
   On April 15, 2024, Hope filed a motion for hearing on
exceptions, alleging that he had been prevented by prison staff
from attending the April 2 hearing. Hope asserted that the court
made its paternity determination despite his allegation that
the acknowledgment was fraudulent, “all the while ignoring
the indigent litigant’s assertion of his right to counsel. [Hope]
notes that in the notice of hearing, the State advises that the
hearing was for the purpose of appointing counsel.” The notice
of hearing is not contained within our record.
   On April 18, 2024, the district court ordered Hope, within
14 days of the order, to file a request for a bill of exceptions
and either deposit a fee or request to proceed in forma pau-
peris. The district court stated that failure to follow the order
would result in the dismissal of the exception to the referee’s
report. On April 23, Hope filed a “notice of disaccord.” The
notice does not specifically request that counsel be appointed;
rather, Hope stated, “The public defender’s office in Lincoln
County does not value the interest of its clients and I have
initiated a civil action against Kent Florom. Consider appoint-
ing Michael Nozicka if he is available.” On April 30, Hope
filed a motion for court-appointed counsel. In his motion, he
asserted that “an indigent defendant has an absolute right to
court-appointed counsel in state-initiated paternity proceed-
ings.” He further asserted that “[t]he indigent defendant,
[Hope], has been granted order to proceed in forma pauperis
by the court.”
   On May 9, 2024, Hope filed a motion to extend the dead-
line for filing the request for a bill of exceptions “and IFP.”
On May 14, the district court entered an order stating that
Hope had been directed to file a request for a bill of excep-
tions but failed to do so within the time specified. The district
court dismissed Hope’s April 15 motion for hearing on excep-
tions and denied all other motions, including the motion for
court-appointed counsel. On May 15, the district court entered
an order adopting the referee’s report and recommendations.
Hope appeals.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
       STATE ON BEHALF OF JAIDE Y. &amp; DEMEE Y. V. HOPE N.
                    Cite as 33 Neb. App. 489
                   ASSIGNMENTS OF ERROR
   Hope assigns, reordered and restated, that (1) the district
court erred in denying his request for court-appointed counsel
and (2) the district court judge erred in failing to recuse him-
self. He also assigns that the district court erred in (3) failing
to file a letter explaining why certain motions Hope submitted
were not filed, (4) failing to hold a rehearing, and (5) using an
allegedly fraudulent acknowledgment of paternity to establish
paternity of Demee.
                    STANDARD OF REVIEW
   [1,2] In a filiation proceeding, the appellate court reviews
the trial court’s judgment de novo on the record to determine
whether there has been an abuse of discretion by the trial
judge, whose judgment will be upheld in the absence of an
abuse of discretion. State on behalf of Dady v. Snelling, 10
Neb. App. 740, 637 N.W.2d 906 (2001). When reviewing a
question of law, however, an appellate court reaches a conclu-
sion independent of the lower court’s ruling. Id.                          ANALYSIS
Request for Counsel.
   Hope assigns that the district court erred in denying his
request for court-appointed counsel. The State responds by
acknowledging that due process provides an indigent defendant
an absolute right to court-appointed counsel in state-initiated
paternity proceedings. But it argues that Hope failed to file a
request for counsel prior to the April 2, 2024, hearing and that
he did not submit information to allow the district court to
conduct an inquiry into his finances.
   [3] Hope signed an acknowledgment of paternity of Demee
in 2022. But in his response to the State’s complaint to estab-
lish Demee’s paternity and order child support, he alleged
that the acknowledgment of paternity was fraudulent. Neb.
Rev. Stat. § 43-1409 (Reissue 2016) provides, in part, that a
notarized, signed acknowledgment of paternity can be chal-
lenged, even after the rescission deadline has passed, as
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
       STATE ON BEHALF OF JAIDE Y. &amp; DEMEE Y. V. HOPE N.
                    Cite as 33 Neb. App. 489
being the result of fraud, duress, or material mistake of fact.
It is established in Nebraska that due process requires that
an indigent defendant in a paternity proceeding be furnished
appointed counsel at public expense. State on behalf of Mia
G. v. Julio G., 303 Neb. 207, 927 N.W.2d 817 (2019). Hope
challenged the State’s use of his acknowledgment of paternity
of Demee because he alleged it was fraudulent; therefore, if
Hope were indigent, he would be entitled to appointed coun-
sel at public expense.
   The only motion for court-appointed counsel that appears
in the transcripts presented to this court was filed on April
30, 2024, after Hope filed his exception to the referee’s report
and before the district court ruled on the motion. There is no
evidence that the district court conducted any inquiry into
whether Hope was indigent and was thus entitled to appointed
counsel at public expense before it denied his request. The
district court erred in denying the motion without conducting
this inquiry; therefore, we reverse the May 14 order denying
Hope’s motion for court-appointed counsel.
   Because Hope requested the appointment of counsel prior to
the district court’s dismissal of his exception to the referee’s
report and the dismissal was entered without inquiry into
Hope’s indigency, we vacate the order of dismissal and remand
the cause to the district court for further proceedings.
Recusal of District Court Judge.
   Hope assigns that the district court judge erred in failing
to recuse himself from this case. He argues the judge recused
himself in other cases in which Hope was a party. However,
there is no evidence before this court to support those asser-
tions. Hope’s argument is not supported by any evidence in the
record; consequently, this assignment of error fails.
Remaining Assignments of Error.
   [4] Hope’s remaining assignments of error need not be
addressed based on our decision that the district court erred
in denying Hope’s motion for court-appointed counsel without
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
       STATE ON BEHALF OF JAIDE Y. &amp; DEMEE Y. V. HOPE N.
                    Cite as 33 Neb. App. 489
first conducting an inquiry into whether he was indigent. An
appellate court is not obligated to engage in an analysis that is
not necessary to adjudicate the case and controversy before it.
In re Interest of Steven V., ante p. 256, 14 N.W.3d 18 (2024).
                       CONCLUSION
   Because we find the district court erred in denying Hope’s
motion for court-appointed counsel without conducting an
inquiry into whether he was indigent, we reverse the May
14, 2024, order denying Hope’s motion for court-appointed
counsel and we vacate the May 15 order adopting the referee’s
report. We remand the cause for further proceedings consistent
with this opinion.
               Reversed in part and in part vacated, and
               cause remanded for further proceedings.
